                                Case
 Fill in this information to identify the12-40944-RAM
                                          case:                               Doc             Filed 07/25/19       Page 1 of 3
 Debtor 1                  Gerda Williams
 Debtor 2
 (Spouse, if filing)
 United States Bankruptcy Court for the:        Southern   District of             Florida
                                                                                    (State)
 Case number                                12-40944-RAM




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                       12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:                 Specialized Loan Servicing LLC                              Court claim no. (if known):            9-1

Last four digits of any number you use to
identify the debtor's account:                                            5842

Does this notice supplement a prior notice of postconversion fees,
expenses, and charges?

                No
                Yes. Date of the last notice:                       .

 Part 1:               Itemize PostConversion Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the conversion was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an
 amount, indicate that approval in parentheses after the date the amount was incurred.

             Description                                                                       Dates incurred                                 Amount
 1.          Late charges                                                                                                             (1)
 2.          Non-sufficient funds (NSF) fees)                                                                                         (2)
 3.          Attorney fees                                                                                                            (3)
 4.          Filing fees and court costs                                                                                              (4)
 5.          Bankruptcy/Proof of claim fees                                                                                           (5)
 6.          Appraisal/Broker's price opinion fees                                                                                    (6)
 7.          Property inspection fees                                                                                                 (7)
 8.          Tax advances (non-escrow)                                   County Tax: 2018 Year                          05/20/2019    (8)       $2,783.54
 9.          Insurance advances (non-escrow)                             Hazard Insurance: Eff. 05/31/2018              05/20/2019    (9)       $4,527.00
 10.         Property preservation. Specify:                                                                                         (10)
 11.         Other. Specify:                                                                                                         (11)
 12.         Other. Specify:                                                                                                         (12)
 13.         Other. Specify:                                                                                                         (13)
 14.         Other. Specify:                                                                                                         (14)
 15.         Total post-petition fees, expenses, and charges. Add all of the amounts listed above.                                   (15)       $7,310.54


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1.




Official Form 410S2                          Notice of Postpetition Mortgage Fees, Expenses, and Charges                                       5120-N-8665
                                                                                                                                            NFC_122018_001
                                     Case 12-40944-RAM                   Doc     Filed 07/25/19        Page 2 of 3
Debtor 1                                        Gerda Williams                         Case Number (if known)            12-40944-RAM
                        First Name             Middle Name          Last Name




Part 2:     Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

I am the creditor.

I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.



/s/ Mukta Suri
Signature                                                                           Date    07/23/2019


Print            Mukta Suri                                                         Title   Authorized Agent for Specialized Loan Servicing, LLC
                  First Name           Middle Name           Last Name



Company          Bonial & Associates, P.C.


Address          14841 Dallas Parkway, Suite 425
                 Number               Street

                 Dallas, Texas 75254
                 City                 State                  ZIP Code



Contact phone            (972) 643-6600                         Email    POCInquiries@BonialPC.com




Official Form 410S2                      Notice of Postpetition Mortgage Fees, Expenses, and Charges                                        5120-N-8665
                                                                                                                                         NFC_122018_001
                   Case 12-40944-RAM              Doc       Filed 07/25/19        Page 3 of 3



CERTIFICATE OF SERVICE OF NOTICE OF POST PETITION MORTGAGE, FEES, EXPENSES AND
                                   CHARGES

I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before July 25, 2019 via electronic notice unless otherwise stated.

Debtor          Via U.S. Mail
Gerda Williams
6712 SW 34TH COURT
HOLLYWOOD, FL 33023


Debtors' Attorney
Michael A. Frank, Esq.
10 NW LeJeune Rd #620
Miami, FL 33126

Chapter 13 Trustee
Nancy K. Neidich
www.ch13miami.com
POB 279806
Miramar, FL 33027


                                                      Respectfully Submitted,
                                                      /s/ Mukta Suri




NOTICE OF FEES AND COSTS - CERTIFICATE OF SERVICE                                                        5120-N-8665
                                                                                                      NFC_COSDflt_01
